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                      RECOMMENDATION TERMINATING
               SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                    )
                                            )
                             vs.            )       Docket Number: 2:99CR00017-01
                                            )
Peter Thomas BROWNSON                       )
                                            )




LEGAL HISTORY:

On April 30, 2002, the above-named was sentenced to 60 months custody in the Bureau
of Prisons to be followed by a term of supervised release for a period of 5 years, which
commenced on March 6, 2006. Special conditions included: a requirement for Search,
Financial disclosure, Drug/alcohol testing and treatment, Co-payment for treatment/testing;
Register as a drug offender; Do not possess pager/cellular telephone without permission;
and Report all vehicles owned or operated.


SUMMARY OF COMPLIANCE:

Mr. Brownson has been supervised in the District of Colorado. They report he has
complied with all conditions and special conditions of supervised release, and has not been
involved in any further criminal activities. It is the opinion of the probation officer that he
has derived maximum benefit from supervision and is not in need of continued supervision.




                                                                                         Rev. 04/2007
                                                1           EARLY TERMINATION ~ RECOMMENDATION.MRG
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RE:      Peter Thomas BROWNSON
         Docket Number: 2:99CR00017-01
         RECOMMENDATION TERMINATING
         SUPERVISED RELEASE PRIOR TO EXPIRATION DATE



RECOMMENDATION:

It is, therefore, respectfully recommended that supervised release in this case be
terminated early.

                                        Respectfully submitted,



                                    /s/ Deborah A. Spencer
                                   DEBORAH A. SPENCER
                          Supervising United States Probation Officer

Dated:           October 30, 2007
                 Elk Grove, California
                 DAS/cj



cc:      AUSA Robert M. Twiss (Pursuant to Rule 32, notice of proposed relief to the supervisee is being
         provided. If no objection is received from you within 14 days, the probation officer's Recommendation
         and Prob35-Order Terminating Supervised Release Prior to Expiration Date, will be submitted to the
         Court for approval.)




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PROB 35            ORDER TERMINATING SUPERVISED RELEASE
                         PRIOR TO EXPIRATION DATE


                         UNITED STATES DISTRICT COURT
                                   FOR THE
                        EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA                       )
                                               )
                          vs.                  )     Docket Number: 2:99CR00017-01
                                               )
Peter Thomas BROWNSON                          )
                                               )




On March 6, 2006, the above-named was placed on supervised release for a period of 5
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                 Respectfully submitted,



                               /s/ Deborah A. Spencer
                              DEBORAH A. SPENCER
                     Supervising United States Probation Officer

Dated:       October 30, 2007
             Elk Grove, California
             DAS/cj




                                                                                       Rev. 05/2006
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RE:    Peter Thomas BROWNSON
       Docket Number: 2:99CR00017-01
       ORDER TERMINATING SUPERVISED RELEASE
       PRIOR TO EXPIRATION DATE




                                    ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that the
proceedings in the case be terminated.



November 26, 2007
Date                                              Lawrence K. Karlton
                                                  Senior United States District Judge

DAS/cj
Attachment: Recommendation
cc:   United States Attorney's Office




                                                                                           Rev. 05/2006
                                              4                EARLY TERMINATION ~ ORDER (PROB35).MRG
